                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., et al.,               )
                                                 )
Plaintiffs,                                      )          Case No. 3:23-cv-00606
                                                 )          Judge Aleta A. Trauger
v.                                               )
                                                 )
X CORP., d/b/a TWITTER,                          )
                                                 )
Defendant.                                       )

                                            ORDER

         For the reasons explained in the accompanying Memorandum, X Corp.’s Motion to

Dismiss (Doc. No. 77) is hereby GRANTED in part and DENIED in part. Counts I and III are

DISMISSED. Count II is DISMISSED, except as to infringement attributable to the following

practices: (1) providing more lenient copyright enforcement to “verified” users; (2) failing to act

on takedown notices in a timely manner; and (3) failing to take reasonable steps in response to

severe serial infringers. The initial case management conference is RESET for May 20, 2024 at

1:00 p.m.

         It is so ORDERED.



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                                                            ALETA A. TRAUGER
                                                            United States District Judge




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